                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 4:06-cr-4
 vs.                                                )
                                                    )       JUDGE COLLIER
 BILLY CYREE                                        )


                               MEMORANDUM AND ORDER

        BILLY CYREE (“Supervised Releasee”) appeared for an initial appearance before the
 undersigned on January 9, 2014, in accordance with Rule 32.1 of the Federal Rules of Criminal
 Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”). Those
 present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Myrlene Marsa for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
 the United States Constitution.

         It was determined the Supervised Releasee wished to be represented by an attorney and
 he qualified for the appointment of an attorney to represent him at government expense.
 Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
 defendant. It was determined the Supervised Releasee had been provided with a copy of the
 Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
 his attorney. It was also determined he was capable of being able to read and understand the
 copy of the aforesaid documents he had been provided

        The Supervised Releasee waived his right to a preliminary hearing and detention hearing.

        The Government moved the Supervised Releasee be detained pending a hearing to
 determine whether his term of supervision should be revoked.

                                            Findings

        (1) Based upon the Petition and Supervised Releasee=s waiver of preliminary
        hearing and detention hearing, the undersigned finds there is probable cause to
        believe the Supervised Releasee has committed violations of his conditions of
        supervised release as alleged in the petition.

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                                      Conclusions

      It is ORDERED:

      (1) The Supervised Releasee shall appear in a revocation hearing before U.S.
      District Judge Curtis L. Collier.

      (2) The motion of the Government that defendant be DETAINED WITHOUT
      BAIL pending his revocation hearing before Judge Collier is GRANTED.

      (3) The U.S. Marshal shall transport the Supervised Releasee to a revocation
      hearing before Judge Collier on Thursday, February 20, 2014, at 9:00 am.

      ENTER.

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                                        UNITED STATES MAGISTRATE JUDGE




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